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           10
                 Attorneys for Defendants
           11    UNITED HEALTHCARE INSURANCE COMPANY
                 and UNITED BEHAVIORAL HEALTH
           12

           13
                                                 UNITED STATES DISTRICT COURT
           14
                                              NORTHERN DISTRICT OF CALIFORNIA
           15
                                                         OAKLAND DIVISION
           16
                 LD, DB, BW, RH, and CJ, on behalf of                Case No. 4:20-cv-02254-YGR
           17    themselves and all others similarly situated,

           18                           Plaintiffs,                  DECLARATION OF MATTHEW GUICE
                                                                     AIKEN IN SUPPORT OF DEFENDANTS’
           19           v.                                           MOTION FOR ADMINISTRATIVE RELIEF
                                                                     PURSUANT TO L.R. 7-11 AND L.R. 6-3
           20    UNITED HEALTHCARE INSURANCE
                 COMPANY, a Connecticut Corporation,                 Hon. Yvonne Gonzalez Rogers
           21    UNITED BEHAVIORAL HEALTH, a
                 California Corporation, and MULTIPLAN,
           22    INC., a New York Corporation,

           23                           Defendants.

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Gibson, Dunn &                       DECLARATION OF MATTHEW GUICE AIKEN ISO DEFENDANTS’
Crutcher LLP
                                     MOTION FOR ADMINISTRATIVE RELIEF – CASE NO. 4:20-CV-2254
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             1          I, Matthew Guice Aiken, state and declare as follows:

             2          1.        I am an associate attorney at Gibson, Dunn & Crutcher LLP, and counsel of record for

             3   Defendants United Healthcare Insurance Company (“UHC”) and United Behavioral Health (“UBH”)

             4   (together, “United Defendants”) in the above-captioned case. I have personal knowledge of the facts

             5   set forth in this Declaration, and, if called as a witness, could and would testify competently to such

             6   facts under oath.

             7          2.        I submit this declaration under Local Rules 6-3 and 7-11 in support of the Motion for

             8   Administrative Relief filed by United Defendants and Defendant MultiPlan, Inc. (collectively,

             9   “Defendants”).

           10           3.        On April 19, 2021, counsel for United Defendants informed counsel for Plaintiffs in a

           11    written comment on a draft of a joint case management statement exchanged with Plaintiffs that

           12    United Defendants would need time to depose Plaintiffs’ experts after Plaintiffs’ filing of their class

           13    certification motion and before Defendants’ opposition. The parties subsequently agreed on a

           14    schedule that would allow sufficient time for this to occur.

           15           4.        On August 26, 2022, counsel for United Defendants emailed counsel for Plaintiffs to

           16    request dates on which their three expert witnesses, Dr. Robert Ohsfeldt, Professor Mark Hall, and

           17    Professor Alexandra Lahav, may be deposed. United Defendants did not receive a response.

           18           5.        On August 30, 2022, counsel for United Defendants sent a letter to counsel for

           19    Plaintiffs again requesting potential deposition dates during the week of September 12, and also

           20    identifying various materials that appeared to be missing from Plaintiffs’ expert reports (and that

           21    should have been served on August 17 with the reports). United Defendants did not receive a

           22    response.

           23           6.        On September 1, 2022, counsel for Plaintiffs asked counsel for Defendants to meet

           24    and confer. During the parties’ meeting on September 6, 2022, counsel for Plaintiffs told counsel for

           25    Defendants that they objected to these requests by Defendants. The parties exchanged emails

           26    explaining their positions and met and conferred again on September 9, 2022. Plaintiffs still did not

           27    provide deposition dates for their experts or the requested materials and said they were “reserving”

           28    objections.
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Gibson, Dunn &                        DECLARATION OF MATTHEW GUICE AIKEN ISO DEFENDANTS’
Crutcher LLP
                                      MOTION FOR ADMINISTRATIVE RELIEF – CASE NO. 4:20-CV-2254
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             1          7.      On September 12, 2022, after Defendants indicated that they intended to raise these

             2   issues with Magistrate Judge Spero, Plaintiffs offered a single date (September 26) for a full-day

             3   deposition of Dr. Ohsfeldt, just two days before Defendants’ current deadline to oppose Plaintiffs’

             4   class certification motion. Plaintiffs offered only one date prior to Defendants’ deadline—September

             5   23—for Professor Lahav. On September 13, 2022, Plaintiffs offered four dates for a half-day

             6   deposition with Professor Hall, none of which are before Defendants’ current deadline to oppose

             7   Plaintiffs’ class certification motion. Counsel for Plaintiffs also informed counsel for United

             8   Defendants that they would not agree to an extension of the briefing schedule so as to allow the

             9   depositions of all of Plaintiffs’ experts to take place prior to Defendants’ deadline.

           10

           11           I declare under penalty of perjury that the foregoing is true and correct.

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           14    Dated: September 14, 2022                               GIBSON, DUNN & CRUTCHER LLP

           15
                                                                         By: /s/ Matthew Guice Aiken
           16                                                                Matthew Guice Aiken
           17
                                                                             Counsel for Defendants United
           18                                                                Healthcare Insurance Company and
                                                                             United Behavioral Health
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Gibson, Dunn &                       DECLARATION OF MATTHEW GUICE AIKEN ISO DEFENDANTS’
Crutcher LLP
                                     MOTION FOR ADMINISTRATIVE RELIEF – CASE NO. 4:20-CV-2254
